Case 6:21-cr-00043-RRS-CBW Document 43 Filed 02/22/22 Page 1 of 2 PageID #: 100




                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                   LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                    *      CRIMINAL NO. 6:21-CR-00043-01
                                             *
 VERSUS                                      *      JUDGE SUMMERHAYS
                                             *
 CHANCE J. SENECA                            *      MAGISTRATE JUDGE WHITEHURST



                                   JOINT STATUS REPORT

        A status conference was held this date at the direction of the court. The following

 appearances were made:

        NAME (PLEASE PRINT)                         PARTY REPRESENTED

       Myers P. Namie                               United States of America

       Dustin C. Talbot                             Chance Seneca

        Trial is set for March 14, 2022.   Pretrial conference scheduled for February 28, 2022.

 THE FOLLOWING QUESTIONS WERE ADDRESSED:

        (1)   Will a hearing outside the presence of the jury be required on Rule 404(b)

 evidence either as to its relevance or as to its probative vs. prejudicial value?   See, United

 States v. Beechum, 582 F.2d 898 (5th Cir. 1978) (en banc), cert. denied, 440 U.S. 920 and

 Huddleston v. United States, 485 U.S. 681 (1988).       Government - No; Defense - No.

        (2) Is there any issue involving voluntariness of statements under 18 U.S.C. ' 3501?

 Government - No; Defense - No.

        (3)   Are there any admissibility questions requiring evidentiary presentation?:

 Government - No; Defense - No.
Case 6:21-cr-00043-RRS-CBW Document 43 Filed 02/22/22 Page 2 of 2 PageID #: 101




          (4) Time required by each side to present its case in chief: Government - 3 Day(s);

 Defense: 1 day.

          (5) The parties agreed to waive challenges to the foundation of the following

 documents: N/A.

          (6) Order of presentation by multiple defendants: N/A.

          (7)    Pending discovery problems:   None.

          (8) Jencks Act material will be provided to defendant(s); At least by Friday before

 trial.

          (9) Other:       A verbally agreed-upon proposed plea packet has been

 forwarded to the defendant and we are close to a plea, as communicated to the

 Court.         If we cannot reach a plea well before the trial date, an unopposed

 continuance will be filed. Both parties agree this matter should not proceed to

 trial on March 14, as there are necessary steps, that qualify as excludable time

 under the Speedy Trial Act, which still need to be accomplished.

          APPROVED AS TO FORM AND SUBSTANCE this 22nd day of February 2022.

 SIGNATURES:


   /s/ Myers P. Namie                                        /s/ Dustin C. Talbot
 __________________________________                _____________________________________
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 NOTE: Original to be filed with Clerk. Copy to be emailed to Magistrate Judge
 Carol B. Whitehurst’s chambers via Whitehurst_orders@lawd.uscourts.gov.
